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               IN THE DISTRICT COURT OF SOUTH CAROLINA

                             GREENVILLE DIVISION

WINSTON TYLER HENCELY,                   *
                                         *
      Plaintiff,                         *
                                         *   CIVIL ACTION FILE
v.                                       *
                                         *   NO. ______________
FLUOR CORPORATION, INC.;                 *
FLUOR ENTERPRISES, INC.;                 *
FLUOR INTERCONTINENTAL,                  *
INC.; FLUOR GOVERNMENT                   *
GROUP INTERNATIONAL, INC.,               *
                                         *
      Defendants.                        *

                        PLAINTIFF’S RESPONSES
                   LOCAL RULE 26.01 INTERROGATORIES

      COMES NOW Plaintiff Winston Tyler Hencely, who hereby responds to the

Court’s Interrogatories, pursuant to Local Rule 26.01, as follows:

Interrogatory A:

      State the full name, address and telephone number of all persons or legal

entities who may have a subrogation interest in each claim and state the basis and

extent of said interest.

Response:
                           The United States Department of Defense
                           The United States Army
                           1400 Defense Pentagon
                           Washington, DC 20301-1400
                           703-571-3343
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      The Department of Defense and/or The Army may have a subrogation

interest in this matter due to compensation or other benefits paid to Plaintiff.

                           The United States Department of Veteran Affairs
                           810 Vermont Avenue, NW
                           Washington, DC 20420
                           1-800-827-1000

      The Department of Veteran Affairs may have a subrogation interest in this

matter due to medical benefits and other disability benefits provided to Plaintiff

resulting from his injuries.

Interrogatory B:

      As to each claim, state whether it should be tried jury or non-jury and why.

Response:

      Plaintiff requests a jury trial for all claims in this matter.

Interrogatory C:

      State whether the party submitting these responses is a publicly owned

company and separately identify: (1) each publicly owned company of which it is a

parent, subsidiary, partner, or affiliate; (2) each publicly owned company which

owns ten percent or more of the outstanding shares or other indicia of ownership of

the party; and (3) each publicly owned company in which the party owns ten

percent or more of the outstanding shares.

Response:

      No.
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Interrogatory D:

      State the basis for asserting the claim in the division in which it was filed (or

the basis of any challenge to the appropriateness of the division).

Response:

      The incident which gives rise to the cause of action in this complaint

occurred on Bagram Air Force Base in Afghanistan. The Plaintiff is a citizen of

Georgia. Defendants Fluor Enterprises, Inc., Fluor Intercontinental, Inc., and Fluor

Government Group International, Inc. maintain their principal places of business in

Greenville, South Carolina, at 100 Fluor Daniel Drive, Greenville, South Carolina.

Fluor Corporation, Inc. regularly conducts business in South Carolina at the same

location, including performing significant parts of the contracts at issue in this

case. The Defendants are private contractors of the United States Army, and the

contracts at issue in this case were entered into in Greenville, South Carolina.

Interrogatory E:

      Is this action related in whole or in part to any other matter filed in this

District, whether civil or criminal? If so, provide: (1) a short caption and the full

case number of the related action; (2) an explanation of how the matters are

related; and (3) a statement of the status of the related action. Counsel should


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disclose any cases which may be related regardless of whether they are still

pending. Whether cases are related such that they should be assigned to a single

judge will be determined by the Clerk of Court based on a determination of

whether the cases: arise from the same or identical transactions, happenings or

events; involve the identical parties or property; or for any other reason would

entail substantial duplication of labor of heard by different judges.

Response:

      Under S.C. R. D. C. 26.01(E) “whether cases are related such that they

should be assigned to a single judge will be determined by the clerk of court based

on a determination of whether the cases arise from the same or identical

transactions, happenings, or events; involve the identical parties or property; or for

any other reason would entail substantial duplication of labor if heard by different

judges.” (Emphasis added.)

      (1)    The potentially related case was Norat v. Fluor Intercontinental, Inc.,

      Civil Action File No. 6:16-cv-00603-BHH & Civil Action File No. 6:14-cv-

      04902-BHH.

      (2)    The two cases involved the same defendants, the same military base,

      the same contracts with the Department of Defense (LOGCAP IV and Task

      Order 005), allegations of negligence by defendants, and the present case




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      will certainly involve the same supposed “immunity” arguments raised by

      Fluor in Norat and decided by this District Court.

      (3)    Plaintiff in the present case understands that Norat v. Fluor has

      settled.

To be clear, the two cases, Hencely and Norat, do not “arise from the same or

identical transactions, happenings, or events,” and do not “involve the identical

parties or property,” but Plaintiff feels obligated to disclose that, as noted in (2)

above, there are reasons that “would entail substantial duplication of labor if [the

two cases were] heard by different judges.”

      Respectfully submitted, this 20th day of February, 2019.


                                         /s/ Beattie B. Ashmore
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